Case 1:24-cv-00569-AJT-WEF Document 49-2 Filed 07/31/24 Page 1 of 1 PageID# 343




                                  NOTICE

                  INITIAL AND FINAL PRETRIAL FILINGS



 In accordance with Rules 5 and 73, Federal Rules of Civil Procedure, the
 following procedures are to be followed:


 Initial Pretrial

 Counsel should confer with their clients prior to the initial pretrial conference
 and be prepared to respond to inquiry by the judge regarding consent to
 exercise of jurisdiction by a United States Magistrate Judge for trial and entry
 of final judgment.


 Final Pretrial

 Witness lists and exhibit lists, signed by local counsel, accompanied by a
 certification of service are to be filed at the final pretrial conference.

 Original exhibits, labeled consistent with the exhibit list, bound and tabbed,
 to be filed one (1) business day before trial. A copy of the exhibits should be
 exchanged with opposing counsel before the final pretrial conference.




                                            Fernando Galindo
                                            Clerk of Court
